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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                     No. 4:13CR00068-10 JLH

BOBBY JEROME KNIGHT

                              FINAL ORDER OF FORFEITURE

       On January 29, 2014, the Court entered a Preliminary Order of Forfeiture (Dkt. 218),

ordering Bobby Jerome Knight to forfeit his interest in:

       a.      One Taurus, model P25, .25 caliber semi-automatic pistol, bearing serial number
               DNH09276;
       b.      One MAADI CO, model MISR, 7.62 x 39 mm semi-automatic rifle, bearing serial
               number CM15055; and
       c.      One Smith and Wesson, model M&P 15, 223 caliber semi-automatic rifle, bearing
               serial number 84644.

(collectively “forfeited property”).

       The Order provided that it would become final as to Bobby Jerome Knight at the time of

sentencing and would become a final order of forfeiture if no third party filed a timely claim to

the forfeited property. The Court has sentenced Bobby Jerome Knight, and no one has filed a

claim to the forfeited property. The preliminary order of forfeiture, therefore, ripens into a final

order of forfeiture. The United States now has all right, title, and interest in the forfeited

property. Any prior claims in and against the forfeited property are extinguished and declared

void. The property shall be turned over to the United States Marshals Service and disposed of

according to law.

       IT IS SO ORDERED this 30th day of April, 2014.



                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
